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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ROSA CEJA,

                      Plaintiff,                            Case No. 15-cv-10546

v.                                                          Judge Shah

PERSONNEL STAFFING GROUP, LLC d/b/a                         Magistrate Judge Schenkier
MVP

                      Defendant.

                            JOINT STIPULATION TO DISMISS

       IT IS HEREBY STIPULATED AND AGREED TO pursuant to Fed. R. Civ. P. 41(a)(1)(ii)

by the respective parties herein that all matters in controversy have been compromised and settled

to the satisfaction of all parties, subject to the terms of the Confidential Settlement Agreement

entered into by the parties, and with all costs having been paid and all matters in controversy for

which said action was brought having been fully settled, compromised, and adjourned; and that

further, this cause of action shall be immediately dismissed with prejudice.

                              Respectfully Submitted,

FOR PLAINTIFF,                                       FOR DEFENDANT,
ROSA CEJA                                            PERSONNEL STAFFING GROUP, LLC
                                                     d/b/a MVP

/s/Christopher J. Williams                           /s/Britney Zilz
Christopher J. Williams                              Britney Zilz
Workers’ Law Office, P.C.                            KOREY RICHARDSON LLC
53 W. Jackson Blvd., Suite 701                       20 S. Clark St., Suite 500
Chicago, IL 60604                                    Chicago, IL 60603
Phone: (312) 795-9121                                Phone: (312) 372-7075

Dated: November 17, 2016
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                                CERTIFICATE OF SERVICE

       The undersigned, an attorney, certifies that a copy of the attached document, JOINT

STIPULATION TO DISMISS, was sent to the parties listed below by electronically filing with

the Clerk of the U.S. District Court of the Northern District of Illinois on November 17, 2016.

                          Britney Zilz (bzilz@koreyrichardsonlaw.com)
                         Alison Field (afield@koreyrichardsonlaw.com)
                   Elliot Richardson (erichardson@koreyrichardsonlaw.com)
                                 KOREY RICHARDSON LLC
                                   20 S. Clark Street, Suite 500
                                     Chicago, Illinois 60603

       A courtesy copy was delivered to the Chambers of Judge Shah within twenty-four (24)
hours of e-filing.

                                                            /s/Christopher J. Williams
                                                            Christopher J. Williams
                                                            Workers’ Law Office, P.C.
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                                                            Chicago, IL 60604
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